

Matter of Matthew P. v Linnea W. (2023 NY Slip Op 05213)





Matter of Matthew P. v Linnea W.


2023 NY Slip Op 05213


Decided on October 12, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 12, 2023

Before: Webber, J.P., Kern, Singh, Scarpulla, Rosado, JJ. 


Docket No. O-04643/20, O-02893/20, O-015691/20, V-02893/20;21A;21B, V-03036/20;21A Appeal No. 753 Case No. 2022-02782 

[*1]In the Matter of Matthew P., Petitioner-Respondent,
vLinnea W., Respondent-Appellant.
In the Matter of Linnea W., Petitioner-Appellant,
vMatthew P., Respondent-Respondent.


Linnea W., appellant pro se.
The Kepanis Law Firm, P.C., New York (Douglas S. Kepanis of counsel), for respondent.



Order, Family Court, New York County (Gigi N. Parris, J.), entered on or about June 7, 2022, which denied respondent mother's motion for prospective counsel fees, unanimously affirmed, without costs.
Family Court providently exercised its discretion in denying the mother's motion for prospective counsel fees. In support, the mother failed to submit the required
affidavits and exhibits as to the requested application for fees, including an affidavit from counsel as to the reasonableness of said fees as well as a fully executed retainer agreement (see Domestic Relations Law  § 237[b]).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 12, 2023








